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EXHIBIT B

Case 23-30672-5-wak Doc57-2 Filed 04/09/25 Entered 04/09/25 10:34:53 Desc

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M&P Bank

Manufacturers and Traders Trust Company, One M&T Plaza, Buffalo, New York 14203 P# (716) 842-2301 '* (716) 842-5376
e-mail: toneill3@mtb.com

Tyler J. O'Neill
Vice President and Attomey

March 27, 2025

Joseph A. DiMino, Jr.
99 East Oneida Street
Oswego, New York 13126

Re: 2015 Mercedes-Benz C-Class
Conditional Order Lifting Automatic Stay
Case No. 23-30672-WAK

Dear Mr. DiMino, Jr. and Counsel:

Pursuant to the Conditional Order Lifting Automatic Stay (the “Order”) entered in the above
case, you were required to make your regular monthly payments to M&T Bank on or before the
1* of each month. Please be advised that payment has not been received by M&T Bank for
November through December of 2024 and January through March of 2025.

You are hereby notified you are in default of the Order and you have ten (10) days from today to
cure the default and make the required payments. If the default is not cured within ten (10) days,
M&T Bank will proceed with an ex-parte order lifting the automatic stay.

Thank you for your prompt attention to this matter.

Very truly yours,

v

C4

yler J. O’Neill, Esq.

Cc: Neil Tarak Bhatt
Bhatt Law Firm
536 State Street
Ogdensburg, New York 13669

